                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE




  STATE OF TENNESSEE,

                     Plaintiff,                        No. 3:23-cv-00384-TRM-JEM

            v.

  XAVIER BECERRA, in his official
  capacity as Secretary of Health and Human
  Services, et al.,

                     Defendants.


         DEFENDANTS’ NOTICE OF FILING OF ADMINISTRATIVE RECORD

        Defendants, through undersigned counsel, hereby give notice that, in conjunction with the

 present document, they are filing a copy of the certified administrative record regarding the March

 20, 2023 decision not to fund a continuation award for Grant #FPHPA006553. Defendants are

 filing an index and a declaration certifying the authenticity of the record, and the record itself.




Case 3:23-cv-00384-TRM-JEM             Document 28        Filed 02/01/24       Page 1 of 2      PageID
                                            #: 410
 DATED: February 1, 2024
                                   Respectfully submitted,

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Case 3:23-cv-00384-TRM-JEM   Document 28   Filed 02/01/24      Page 2 of 2   PageID
                                  #: 411
